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     Attorneys for Defendants David Baden and Dolores Matteucci

                               IN THE UNITED STATES DISTRICT COURT

                                    FOR THE DISTRICT OF OREGON

                                        PORTLAND DIVISION

     DISABILITY RIGHTS OREGON,                          Case No. 3:02-cv-00339-MO (Lead Case)
     METROPOLITAN PUBLIC DEFENDER                       Case No. 3:21-cv-01637-MO (Member Case)
     SERVICES, INC., and A.J. MADISON,                  Case No. 6:22-cv-01460-MO (Member Case)

                     Plaintiffs,                        UNOPPOSED MOTION TO AMEND
                                                        SEPTEMBER 1 ORDER TO INCORPORATE
                                                        REVISED EXPEDITED ADMISSIONS
             v.                                         POLICY
     DAVID BADEN, in his official capacity as
     head of the Oregon Health Authority, and
     DOLORES MATTEUCCI, in her official
     capacity as Superintendent of the Oregon State
     Hospital,

                     Defendants.
             and

     LEGACY EMANUEL HOSPITAL &
     HEALTH CENTER d/b/a UNITY CENTER
     FOR BEHAVIORAL HEALTH LEGACY
     HEALTH SYSTEM, PEACEHEALTH, and
     PROVIDENCE HEALTH & SERVICES,

                     Intervenors.



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           REVISED EXPEDITED ADMISSIONS POLICY
           CAS/a3m/798142437                      Department of Justice
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     JAROD BOWMAN, JOSHAWN DOUGLAS- Case No. 3:21-cv-01637-MO (Member Case)
     SIMPSON,

                     Plaintiffs,

             v.

     DOLORES MATTEUCCI, Superintendent of
     the Oregon State Hospital, in her individual
     and official capacity, DAVID BADEN,
     Director of the Oregon Health Authority, in his
     official capacity, and PATRICK ALLEN in his
     individual capacity,

                     Defendants,

       and
     LEGACY EMANUEL HOSPITAL &
     HEALTH CENTER d/b/a UNITY CENTER
     FOR BEHAVIORAL HEALTH LEGACY
     HEALTH SYSTEM, PEACEHEALTH, and
     PROVIDENCE HEALTH & SERVICES,

                     Intervenors.

     LEGACY EMANUEL HOSPITAL &                            Case No. 6:22-CV-01460-MO (Member Case)
     HEALTH CENTER d/b/a UNITY CENTER
     FOR BEHAVIORAL HEALTH; LEGACY
     HEALTH SYSTEM; PEACEHEALTH; and
     PROVIDENCE HEALTH & SERVICES
     OREGON,

                     Plaintiffs,
             v.

     DAVID BADEN, in his official capacity as
     Director of Oregon Health Authority,

                     Defendant.
                                    CERTIFICATE OF CONFERRAL

             Pursuant to Local Rule 7-1(a)(1)(A), counsel for Defendants conferred with

     Plaintiffs’ and Intervenors’ (collectively, the Parties) counsel regarding this motion and they

     agree with this motion.




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                                               MOTION

             The Parties recently participated in a settlement conference with Judge Stacie

     Beckerman and, with input and approval from the Court-appointed neutral expert in this

     matter, reached agreement regarding admissions to the Oregon State Hospital of persons

     committed civilly and voluntarily by guardian pursuant to a revised expedited admissions

     policy. A copy of that revised expedited admissions policy is attached hereto as Exhibit 1.

             To enable Defendants to implement this revised expedited admissions policy,

     Defendants respectfully ask this Court to amend Section 2(b) of its September 1, 2022, Order

     to replace its current language with: “shall not admit persons civilly committed or admitted

     voluntary by guardian unless they meet the criteria in the expedited admissions policy

     attached as Exhibit 1 to this Order.” Defendants will submit a form of proposed order.

             DATED May         5 , 2023.

                                                         Respectfully submitted,

                                                         ELLEN F. ROSENBLUM
                                                         Attorney General



                                                             s/ Carla A. Scott
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          OREGON STATE HOSPITAL
          Office of the Superintendent
          Tina Kotek, Governor
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                                                                           Voice: 503-945-2852
May 5, 2023                                                                  TTY: 800-735-2900
                                                                             Fax: 503-947-2900
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          Request for Oregon State Hospital Expedited Admission

        PATIENTS ON THE OSH ADMISSION LIST UNDER CIVIL
     COMMITMENT OR VOLUNTARY BY GUARDIAN / HEALTH CARE
                   REPRESENTATIVE STATUS



  Purpose of this document:
  This document sets forth protocols and processes for referral for expedited admission to
  Oregon State Hospital (OSH) of individuals hospitalized at an acute care facility under a
  civil commitment or admitted voluntarily by guardian or health care representative
  (henceforth “civil admission” status). OSH and OHA are working in partnership with
  stakeholders to increase timely access to OSH.

  Overarching Principled Approach to Expedited OSH Admission of
  Patients under Civil Admission Status:
  OSH must balance the need for OSH admission for patients under civil admission status
  with constitutional requirements for admission to OSH for patients under forensic
  commitments (pursuant to federal litigation pertaining to admission to OSH of patients
  under forensic commitments).

  Patients meeting criteria for civil admission to OSH are placed on the OSH Civil
  Admission list and are scheduled for admission based on bed availability. To achieve
  equitable efficiencies and maximum timeliness for all admissions, only in limited
  circumstances would an expedited admission for a patient under civil admission status
  be approved.

  Protocol:
  Individuals eligible to refer a patient for civil expedited
  admission to OSH: Health care personnel involved in
  hospital management or provision of treatment to individuals
  in the categories listed below.


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NOTE: a referral may be initiated prior to civil commitment if there is a high likelihood
that the patient will meet criteria for both civil commitment and OSH admission, and the
qualifying criteria for expedited admission are met. However, a patient may not be
admitted to OSH under a civil expedited admission until all eligibility criteria below are
met.

Patients eligible for civil expedited admission to OSH: An individual being treated at
an acute care hospital is eligible if that patient:

       1. Is civilly committed or admitted voluntarily by guardian or health care
          representative; and
       2. Meets criteria for admission to OSH per OAR 309-091-0015 and has been
          placed on the OSH Civil Admission List; and
       3. Meets the qualifying criteria below for Civil Expedited Admission and has
          been approved for expedited admission by the OSH Chief Medical Officer or
          designee.*

          * Placement on the OSH Civil Admission list can be simultaneous with
            approval by the OSH Chief Medical Officer or designee.

Qualifying Criteria for Civil Expedited Admission: patients may be considered for
civil expedited admission if, within the previous three weeks at the acute care hospital:

      they exhibit severe aggression directed toward other persons and/or property, or
      they are unable to meet their own basic nutritional needs such that their
       immediate health and safety are at risk, or
      they require biological therapies available to OSH but not to acute care hospitals;
       AND
      they remain at ongoing high risk to themselves or others due to mental illness
       despite adequate treatment; and
      acute care hospital leadership concurs with the treating clinical team that referral
       for expedited admission to OSH is appropriate and attests that all other avenues
       for treatment at the acute hospital or for discharge have been exhausted.

As evidenced by:

       1. Hospital course documentation demonstrating that, due to symptoms of
          mental illness, at least two of the following are present:
          a. The patient has engaged in physical aggression resulting in harm or injury
             to others or lost time at work for an employee;
          b. The patient has engaged in substantial property destruction impacting
             patient care;
          c. The patient has required 1:1 security staffing to prevent harm or injury to
             other patients or staff for longer than 72 hours;


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          d. The patient has required recent frequent or prolonged seclusion** or
             restraint;
          e. Two or more acute psychiatric beds have been closed to reduce the risk of
             the patient causing harm or injury to other patients or staff;
          f. The patient cannot be safely treated on an acute psychiatric unit with
             available resources.
          OR
       2. Hospital course documentation demonstrating that, due to symptoms of
          mental illness, at least one of the following are present:
          a. The patient is unable to meet their own basic nutritional needs such that
             medical intervention has been necessary or is highly likely to become
             necessary in the near future.
          b. The patient requires a biological therapy (ex: court-ordered
             electroconvulsive therapy) that cannot be provided at the acute care
             hospital.

          ** Behavior management plans which require that a patient may leave their
             assigned room only following staff assessment are considered equivalent
             to seclusion. An individual who has received such interventions, which
             reduce incidents of aggression by limiting access to peers, may still be
             referred for civil expedited admission.

Disqualifying Criteria for Expedited Admission: An individual who meets the criteria
above but who has an active medical condition which requires stabilization or treatment
at a primary medical center. Referral and consultation may occur while the individual is
being medically stabilized.

Process:
A referral for civil expedited admission is encouraged when a patient exhibits behavior
and ongoing safety risk that meets the above criteria. Note that historical behavior, while
pertinent to clinical risk assessment generally, is insufficient to justify civil expedited
admission in the absence of present behavioral concerns.

The acute care hospital may refer the patient to OSH for consideration of civil expedited
admission by making available to the OSH Admissions Department by fax, email or
via electronic medical records access:

      Medical records up to the current date, including
       o current progress notes
       o documentation of any seclusion and/or restraint
       o documentation describing any current behavior management plan
       o medication administration records
      A written explanation by the unit medical director of


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       o the current clinical behaviors and/or concerns that may require expedited
          OSH admission; and
       o an explanation of what need cannot be met by the acute care hospital; and
       o a description of interventions and supports that have already been
          implemented or attempted (this may include a description of the physical
          structure of the unit or location where the individual is housed)
      Name and contact information for the attending and/or covering psychiatric
       practitioner
      An attestation by an administrative director at the acute care hospital of review
       and approval of the referral

Requests for consultation/expedited admission will be reviewed by the OSH Chief
Medical Officer (CMO) or designee during business hours (0800-1700) Monday through
Friday. The reviewer may contact the attending practitioner if additional information is
needed.

Within 24 hours of receiving all necessary information, the CMO or designee will
communicate back to the referring party related to consultation/admission
considerations.

      If approved, OSH will admit the patient in a timeframe deemed appropriate to the
       circumstances and as soon as possible considering the expedited nature of the
       referral.
      If denied, the patient will maintain their current place on the OSH Civil Admission
       List.
       o In addition, OSH will participate in a patient care conference in collaboration
           with the acute care hospital and CMHP, including subsequent meetings as
           required and agreed upon, with the goal of identifying modifications to the
           care plan to promote the safety of the patient, other patients, and staff.
       o A patient may be referred again following a denial if additional safety
           considerations arise which meet the qualifying criteria.
       o All referrals, acceptances and denials, along with the rationale for such
           referrals, acceptances, and denials, shall be recorded in a de-identified
           tracking system kept by OSH and the private hospitals and reviewed on a
           quarterly basis in joint meetings with the private hospitals, OSH and OHA
           leadership representation and any other mutually agreed upon invitees to
           ascertain impact on compliance with federal court orders, impact on private
           hospitals, and any other factors of relevance to Oregon psychiatric hospital
           and community behavioral health system stakeholders. These quarterly
           reviews and lessons learned may result in further modifications of this
           protocol.




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Admissions Department contact information:
Phone: 503-945-9265
FAX: 503-945-9839
Email: OSH.Admissions@odhsoha.oregon.gov

Hours of operation:
Monday through Friday
8:00 AM to 5:00 PM




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